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 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                     IN THE UNITED STATES DISTRICT COURT

 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                     )    No. CR-S-09-196 GEB
                                                   )
10                     Plaintiff,                  )
                                                   )    STIPULATION AND ORDER
11         vs.                                     )    CONTINUING STATUS
                                                   )    HEARING
12   MICHAEL LEON W ILLIAMS, et. al.               )
                                                   )
13                     Defendant.                  )
                                                   )
14

15         Defendant: MICHAEL LEON W ILLIAMS, through his attorney, PETER

16   KMETO, and the United States of America, through its counsel of record,

17   CAROLYN DELANEY, stipulate and agree to the following:

18         1. The presently scheduled date of January 14, 2011 for Status Hearing shall

19         be vacated as to defendant, MICHAEL LEON W ILLIAMS, only, and said

20         Hearing be rescheduled for February 11, 2011 at 9:00 a.m..

21         2. Both parties anticipate completion of settlement negotiations and

22         that the case will be ready for entry of plea February 11, 2011. Accordingly,
23         the parties stipulate that time be excluded pursuant to 18 U.S. C.
24         §3161(h)(7)(A) [Local Code T4] – additional time to adequately prepare for
25         pretrial proceedings.
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 1         IT IS SO STIPULATED.

 2   Dated:   January 12, 2011                 /s/ CAROLYN DELANEY
 3                                            Assistant U.S. Attorney
                                              for the Government
 4

 5
     Dated: January 12, 2011                  /s/ PETER KMETO
 6
                                              Attorney for Defendant
 7                                            MICHAEL LEON W ILLIAMS

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 9
                                              ORDER
10
                 UPON GOOD CAUSE SHOW N and the stipulation of the two parties,
11
     it is ordered that the hearing for STATUS HEARING as to Defendant, W ILLIAMS,
12
     only, be continued as set forth above.
13

14               The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A)

15   and Local Rule T-4 until February 11, 2011 for continuity of defense counsel and

16   time to permit defense counsel to prepare and properly advise his client.

17
     Dated: January 12, 2011
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20                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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